                                   DEPARTMENT OF THE ARMY
                                  CORPS OF ENGINEERS, OMAHA DISTRICT
                                         1616 CAPITOL AVENUE
                                         OMAHA NE 68102-4901




District Commander                                                                    November 1, 2016




Morton County Sheriff Department
c/o Sheriff Kyle Kirchmeier
205 1st Avenue NW
Mandan, North Dakota 58554

Dear Sheriff Kirchmeier:

    In response to recent events in the vicinity of the confluence of the Cannonball River and Missouri
River, it appears that isolated groups of people have moved to set up camp in areas north of the current
encampment on the north bank of the Cannonball, called the Seven Councils (Oceti Sakowin) Camp by
the Standing Rock Sioux Tribe and its supporters. On October 31 31, as you may know, a group used some
small boats to move up the North Branch ofCantapeta Creek, a tributary of the Cannonball River, to land
and encamp upon United States Army Corps of Engineers' property north of the bridge. As you are
aware, this area is the location where the Dakota Access Pipeline (DAPL) project has proposed to place
the pipeline under the Missouri River via horizontal directional drilling (HDD).

    The Corps of Engineers has not provided any permits or permissions for anyone to access that area of
the federal property that we manage. It is an area that has not been opened for use by the public for
recreational or camping purposes. As such, the Corps of Engineers would consider these individuals to be
trespassers. On behalf of the Corps of Engineers, as a property owner, I am requesting law enforcement
assistance in this matter, as needed. Enclosed for your reference is a map depicting the area where your
assistance is requested.

    Please note that the Corps of Engineers is not asking for any assistance at this time regarding the
inhabitants of the camps south of the Cannonball River, called the Sacred Stone Camp and the Rosebud
Camp, or at the Seven Councils Camp (Oceti Sakowin Camp). Thank you for your consideration of this
request. I am available to discuss this further at your convenience.

                                                       Sincerely,




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                                                            W. Henderson
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                                                            nel, Corps of Engineers
                                                       District Commander




                                                                                             EXHIBIT

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                                                                                                                                   County
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Oahe Dam and Reservoir
Law Enforcement Requested Areas
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Date: 1-November-2016
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                         Disclaimer: The Government furnishes this data and the recipient accepts and uses
                            it with the express understanding that the United States Government makes no
                         warranties, expressed or implied, concerning the accuracy, completeness, reliability,
                        usability, or suitability for any particular purpose of the information and data furnished.
                        The United States shall be under no liability whatsoever to any person by reason of any
                         use made thereof. Data displayed on this map are approximations derived from GIS
                          layers and should NOT be used in place of survey data or legal land descriptions.
                                                                                                                            Rosebud Camp

                                                                                                                            Sacred Stone Camp

                                                                                                                            Seven Councils Camp

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